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AFFIDAVIT OF CASEY ROBINSON

i OMI . NOW (ases Robinson. Ir. wht having nee first duly sworn before an o1licer

authorized to administer oaths, deposes and states as follows
|. My name is Casey Robinson, Jr. | am over cighteen years of age and Competent to te: lily
to the matters contained herein, I voluntarily and freely make thus Affidavit on my own
personal knowledge for any and all uses and purposes authorized by law
2. Lama resident of DeKalb County, Georgia.
3. On November 3, 2020, 1 went to vote at Miller Grove High School, my assigned polling
location.

4, When I handed the poll worker my identification driver's license, the poll worker

 

 

scanned the license and told me twice that | had already voted during the early voung
period.
>. I did not vote during the early voting period for the November 2020 election.
6, I did not apply for an absentee ballot, nor did | receive or submit an absentee ballot, for
the November 2020 election.
7, After I was told that | had already voted, | was not allowed to vote via a ballot marking
device—an electronic voting machine—-at the location.

8. However, after leaving and returning to the polling station, | was allowed to vote

 

provisionally.
a EE ie before me
this ("= day of NerenLo9 2020. FURTHER, AFFIANT SAYETH NAUGHT.
Je C-fL Lo YY OUCH) J |
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